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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA                                                MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                               SECTION “N-5"

                                                           JUDGE ENGELHARDT

                                                           MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Charlene McBroom v American Camper
Manufacturing, LLC d/b/a Ameri-Camp, et al,
Case No. 2:10-cv-270

______________________________________________________________________________

                            RULE 7.6 CERTIFICATE
______________________________________________________________________________

       Pursuant to Local Rule 7.6, undersigned counsel for Plaintiff certifies that Thomas

Thagard, Liason Counsel for the Manufacturing Defendants, has been contacted but no response

has been received.

       Respectfully submitted, this the 6 day of April, 2010.



                                                    By:    s / Rose M. Hurder
                                                           Rose M. Hurder

OF COUNSEL:

John Hawkins, Esq., MS Bar No. 9556
Edward Gibson, Esq., MS Bar No. 100640
Rose M. Hurder, Esq., MS Bar No. 103040
HAWKINS, STRACENER & GIBSON, PLLC.
153 Main Street
Bay St. Louis, MS 39520
Ph. (228) 469-0785; Fx. (228) 467-4212
rose@hsglawfirm.net
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 6, 2010 I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who are CM/ECF participants. I further certify that I mailed the foregoing document and

the notice of electronic filing by first class mail to all counsel of record who are non-CM/ECF

participants.



                                                              s / Rose M. Hurder
                                                             ROSE M. HURDER




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